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                                  No. 22-11036

                    United States Court of Appeals
                         for the Fifth Circuit
     IN THE MATTER OF HIGHLAND CAPITAL MANAGEMENT, L.P., Debtor,
  THE CHARITABLE DAF FUND L.P.; CLO HOLDCO, LIMITED; MARK PATRICK;
     SBAITI & COMPANY P.L.L.C.; MAZIN A. SBAITI; JONATHAN BRIDGES,
                                                   Appellants,
                                  v.
                 HIGHLAND CAPITAL MANAGEMENT, L.P.,
                                                   Appellee.
     IN THE MATTER OF HIGHLAND CAPITAL MANAGEMENT, L.P., Debtor,
                                JAMES DONDERO,
                                                Appellant,
                                   v.
                   HIGHLAND CAPITAL MANAGEMENT, L.P.,
                                                Appellee.
               On Appeal from the United States District Court
              for the Northern District of Texas, Dallas Division
                     Nos. 3:21-cv-01974-X, 3:21-cv-1979-S
               REPLY BRIEF FOR APPELLANTS
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      The rules limiting the contempt power of a bankruptcy court are

strict: Contempt may only be used where a party violates a clear and

unambiguous order. And the court is limited to civil sanctions that

remedy ongoing contempt or compensate for damages caused by a past or

continuing contempt. Sanctions to punish past or deter future conduct

are the province of criminal contempt, which is beyond the power of an

Article I bankruptcy judge.       And where, as here, the vague order

supposedly violated is itself beyond the proper gatekeeping power of the

Article I judge, the order must be read narrowly to avoid a suspect

application of that already questionable order.

      Little is in dispute here. Highland concedes that the key provisions

of the Seery Order are ambiguous. And Highland has not identified any

ongoing contempt or harm from Appellants’ already terminated motion

in the district court that justified civil sanctions.

      This Court should apply the straightforward rules and limits

governing the contempt power of bankruptcy courts, recognize the results

of the well-accepted standards for textual interpretation of legal

documents, acknowledge the self-evidently punitive nature of the

sanctions imposed, and reverse the decision below.
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                             ARGUMENT

I.   The Seery Order Did Not Prohibit Appellants’ District-
     Court Motion, Much Less Do So Clearly and Unambiguously.

     In the Seery Order, the bankruptcy court demanded that

Appellants seek permission before “commenc[ing] or pursu[ing]” a claim

against Seery. ROA.1134. The central issue is whether a request for

permission from the district court to commence a claim against Seery,

which is not itself the “commence[ment]” of the claim, nonetheless clearly

and unambiguously constitutes the “pursu[it]” of a claim against him. It

does not.   Under straightforward precedent regarding the contempt

power, Appellants’ Br. at 36–38, where the language or application of the

Seery Order is anything less than clear in forbidding Appellants’ conduct,

contempt is improper and the decision affirming it was error.

     1. Highland does not contest that an order of contempt must be

based on a violation of a clear and unambiguous order. This Court

requires as much. Oaks of Mid City Resident Council v. Sebelius, 723

F.3d 581, 585 (5th Cir. 2013). Indeed, “the judicial contempt power is a

potent weapon which should be used only where clearly warranted.”

Matter of Hailey, 621 F.2d 169, 172 (5th Cir. 1980) (emphasis added); see

also Appellants’ Br. at 36–37. As a practical matter, this rule is the


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contempt equivalent of the rule of lenity and, in fact, is actually stricter

in its phrasing than many versions of the rule of lenity. See Cargill v.

Garland, 57 F.4th 447, 471 (5th Cir. 2023), petition for cert. docketed,

No. 22-976 (U.S. Apr. 7, 2023) (rule of lenity requires courts “to construe

ambiguous statutes against imposing criminal liability”) (citing cases).

     In assessing the clarity or ambiguity of the Seery Order, it is to be

construed as a contract, which, under Texas law, requires that it be read

according to its plain and ordinary meaning. Appellants’ Br. at 22–23

(discussing cases). And “when the law is the subject, ordinary legal

meaning is to be expected.” Day v. Persels & Assocs., 729 F.3d 1309, 1317

(11th Cir. 2013) (emphasis added).

      2. Highland does not meaningfully rebut these basic principles, nor

the many legal sources interpreting “pursue” to mean “prosecute” an

existing claim and distinguishing it from “commence,” which means to

begin a claim. See, e.g., Pursue, Black’s Law Dictionary 1237 (6th ed.

1990) (“To follow, prosecute, or enforce a matter judicially, as a

complaining party.”); Cohens v. Virginia, 19 U.S. (6 Wheat.) 264, 408

(1821) (“To commence a suit, is to demand something by the institute of

process in a Court of justice; and to prosecute the suit, is, according to the



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common acceptation of language, to continue that demand.” (emphasis

added)); Appellants’ Br. at 24–25, 29–30 (citing definitions and cases).

     Those definitions treat “commence” as meaning “begin,” through

the filing of an action in court, and “pursue” as “continue,” through the

prosecution of that action. See id. And, given that Appellants’ district-

court motion merely asked permission to begin a claim, while also

candidly acknowledging the potential application of the Seery Order,

Appellants could not possibly have been pursuing or continuing a claim

that had yet to be commenced. Appellants’ Br. at 16–17.

     Highland barely pays lip service to the requirement that orders be

interpreted according to their plain meaning, instead arguing (at 23, 24

n.17) for an expansive and vague definition of “pursue” that means

merely to “try to achieve something.”1 And then, without a shred of


1 Highland’s scraping together a handful of dictionaries for the broadest

of competing non-contextual definitions of “pursue” confirms the Seery
Order’s ambiguity. Indeed, the continued battle of dictionaries is still
evolving, which itself negates the clarity required to support a finding of
contempt. In the district court (ROA.11987), and again in their Opening
Brief (at 23–24), Appellants identified various dictionaries that define
the terms “commence” and “pursue” in a manner appropriate to their
legal context and that confirm that their district-court motion did not
“commence or pursue” a claim against Seery. The district court, by
contrast, opted for different dictionaries and broader definitions.
ROA.12260. Highland, in turn, cherry-picks (at 24 n.17) the broadest

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authoritative support, Highland asks this Court (at 23, 29) to ignore the

plain meaning of the text in favor of the amorphous “purpose and intent”

of the Seery Order. But this Court’s precedent confirms that the “plain,

ordinary, and generally accepted meaning” should guide a court’s

interpretation of contractual language. Dynamic CRM Recruiting Sols.,

LLC v. UMA Educ., Inc., 31 F.4th 914, 920 (5th Cir. 2022).

      Of course, one theoretically possible, expansive, and out-of-context

definition, ignoring all other competing definitions, does not a clear and

unambiguous order make. And even if Highland’s inapt definition was

universal (it’s not), it still begs the question of what the motion was trying

to “achieve.” Highland argues (at 24–25) that Appellants “pursued” a

claim when they requested permission to file a claim. Highland then

argues that Appellants were required to seek permission from the

bankruptcy court before pursuing or commencing a claim. But they can’t

have it both ways: either a request for permission is a pre-commencement

or pursuit activity, or it is itself commencement or pursuit. The court




non-contextual definition from yet another set of dictionaries. Even
assuming the plausibility of those competing definitions, the fact that the
meaning of the Seery Order depends on which of multiple dictionaries
and definitions one chooses is the very definition of ambiguity.

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from whom permission is sought does not change the linguistic question

whether seeking permission for an act is the same as engaging in the act

itself.

      To simply describe Highland’s argument is to refute it. If seeking

permission to commence or pursue a claim constitutes “pursuit” of a

claim, the entire phrase “commence or pursue” is nonsensical and,

indeed, renders the Seery Order infinitely fractal in that it requires

seeking permission (i.e., pursuit of a claim by Highland’s lights) to seek

permission (pursue) to seek permission (pursue) ad infinitum.2

      Fortunately, the plain and coherent reading of the Seery Order is

that pursue means to prosecute a claim that already has been

commenced, and that the mere seeking of permission to do either of those

things does not itself amount to the commencement or pursuit of a claim.

      Like the definitions in Black’s Law Dictionary and the other various

dictionaries Appellants identified (at 23–24), routine legal use of the term


2 Courts should “avoid any interpretation that would lead to absurd or

unreasonable outcome[s].” Dunn-McCampbell Royalty Int., Inc. v. Nat’l
Park Serv., 630 F.3d 431, 439 (5th Cir. 2011) (quotation marks omitted);
accord Mid-Continent Cas. Co., Inc. v. Bay Rock Operating Co., 614 F.3d
105, 114 (5th Cir. 2010) (“Under Texas law, we are required to interpret
contract[ual] provisions … so as to avoid meanings that produce
unreasonable, oppressive, or absurd results[.]”) (cleaned up).

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“pursue” confirms that Appellants did not “pursue” a claim against Seery,

much less do so clearly and unambiguously, as would be required for a

finding of contempt.       Highland’s preference for its subjective

understanding of the Seery Order’s “purpose and intent” cannot

overcome these definitions and routine uses of the words “commence” and

“pursue.”   Rather, that would open the Seery Order up to vague,

ambiguous, and unforeseeable applications, which are forbidden in the

context of contempt. See supra, at 2.

     3. Surprisingly, Highland asserts (at 23), without any explanation,

that Appellants render the word “‘pursue’ superfluous” by requiring that

pursuit of a claim follow the commencement of a claim. But Highland

gets it exactly backwards; it is Highland’s definition of “pursue” that

renders the language in the Seery Order superfluous or incoherent.

     Under the common and plain meaning of commence and pursue as

advanced by Appellants, “commence” means the filing of a claim and

“pursue” means the continued prosecution of a claim once filed. The

Seery Order facially demands that a prospective claimant seek

permission before filing (commencing) a new claim against Seery and

that an existing claimant against Seery also seek and obtain permission



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before continuing to prosecute (purse) that existing claim. This reading

makes sense of all the language in the Order. That the Seery Order as

interpreted by Appellants thus would not reach any pre-commencement

request for permission is a feature, not a flaw.

     Highland’s reading, by contrast, not only results in “elephants,” or

“pursuit,” “all the way down,” it also renders the word “commence

superfluous. The definition of pursue Highland proffers is so expansive

that it easily encompasses the filing of a complaint or anything else one

might imagine constitutes the commencement of a claim, and hence the

initial word does no work and has no purpose. That is reason enough to

reject Highland’s interpretation of the Seery Order, and certainly enough

to reject the notion that it is the clear and unambiguous meaning of the

Order. See Dynamic CRM Recruiting, 31 F.4th at 920 (a court “must …

striv[e] to give meaning to … every [] word and to avoid rendering any

portion inoperative”) (emphasis added; quotation marks omitted).

Reading both words—commence or pursue—in context thus confirms

their distinct meanings, consistent with the definitions accepted by legal

dictionaries and courts.




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      4. Highland’s construction is further undermined by its failure to

have any textual or logical limit on what conduct constitutes “pursuing”

a claim under the Seery Order. As Appellants already explained (at 27–

28), if “pursue” means any pre-commencement actions that may lead to

a suit, there is no way to limit what would constitute “pursuing” a claim

(e.g., research, brainstorming, conferring with a client, etc.). It is no

answer for Highland to respond (at 25) that it is not claiming that the

Seery Order applies to “preliminary tasks such as legal research” or

“drafting a complaint.”     Without any logical or textual basis for

Highland’s arbitrary line drawing, their subjective and idiosyncratic

limitation on their facially broad definition hardly amounts to the plain

meaning of the Seery Order.

     As if seeking to demonstrate the ever-malleable nature of its

definitions, Highland argues (at 25) that filing a motion for leave to

amend is virtually the same as filing a new complaint because that was

the end goal. Apart from the fact that almost commencing a claim is not

the same as actually commencing a claim, much like “virtual” reality is

not actual “reality,” motions for leave to amend are not self-executing

under the local rules, and, in any event, the proposed amendment here



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would only have been executed sometime after the Court granted leave,

which pre-supposes that it agreed with Appellants on the inapplicability

or impropriety of the Seery Order.3 Had the district court disagreed,

Appellants would not have filed the amended complaint but rather would

have abided by (and perhaps appealed) the exculpatory limits of the

Seery Order.

     The intent to amend if, and only if, permission is granted, cannot

possibly violate the Seery Order, which plainly contemplates the future

commencement or pursuit of claims after permission is granted. But that

equally acknowledges that seeking permission for such potential action

is not itself, or the equivalent of, commencing or pursuing a claim.

     Under the plain meaning of the Seery Order, Appellants’ candid

request for leave in the district court neither commenced nor pursued a

claim against Seery, did not violate the Seery Order, and hence did not

constitute contempt. Furthermore, even if this Court elects to entertain

the possibility of Highland’s interpretation, it is impossible to conclude




3 As Appellants previously noted (at 31–32), under the portion of the
Local Rules that Highland assiduously avoids quoting, a proposed
amended complaint is not automatically filed upon a district court’s
granting leave. N.D. Tex. L.R. 15.1(b).

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that such a reading is the only reasonable one, much less the clear and

unambiguous meaning of the Seery Order. Given such lack of clarity, the

contempt order was inappropriate, its affirmation was error, and the

decision below should be reversed.

II.   Highland Fails to Support Its Demand that Appellants
      Accept Ambiguity in Bankruptcy Court Orders.

      Effectively conceding that the Seery Order itself is ambiguous,

Highland claims (at 27) that Appellants must simply live with a certain

amount of ambiguity. But the authority Highland cites does not support

this argument. For instance, this Court’s decision in Meyer v. Brown &

Root Construction Company, 661 F.2d 369 (5th Cir. Nov. 1981),

undermines Highland’s argument. True, an injunction need not include

“[e]laborate detail,” as Highland notes. Highland’s Br. at 27. But Meyer

confirms that more detail is required than what the Seery Order

provides. Meyer explained that “a general injunction” that “orders a

defendant to obey the law is not permitted.” 661 F.2d at 373. But the

injunction in Meyer was adequate because it articulated the specific

unlawful practices in its recitation of the violations found and then

enjoined the defendant from “engaging in the stated unlawful

employment practice.” Id.


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     So too with the bankruptcy court’s unpublished decision in In re

SkyPort Global Communications, No. 08-36737-H4-11, 2013 WL 4046397

(Bankr. S.D. Tex. Aug. 7, 2013). In SkyPort, the court recognized that a

certain level of ambiguity on the face of an injunction may be cured

“where a defendant has been independently advised of the scope of the

proscribed activity—such as on the record in open court.” Id. at *44. The

SkyPort court concluded that “the Court should therefore consider the

order as a whole, including what was said on the record as well as its

context within the overall litigation” when evaluating the adequacy of an

order’s clarity.   Id.    Whereas the SkyPort parties previously had

addressed questions about the scope of the order during a hearing, id.,

that certainly was not the case here and, if there was the need for

clarifying advice regarding a broader intended interpretation of the Seery

Order, then that, not a finding of contempt, should have been the

bankruptcy court’s response.4




4 The same is true of In re Bradley, 588 F.3d 254 (5th Cir. 2009), where

this Court addressed arguments about the scope of an injunction that the
parties had addressed with the court during a hearing. Any ambiguity
had been resolved after having been addressed by the court. Id. at 267.
Highland’s reliance (at 31) on McVay v. Halliburton Energy Services, Inc.,
608 F. App’x 222 (5th Cir. 2015), is even more surprising, as the parties

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     In contrast to the inapposite cases Highland identifies, this Court

has been clear that a party cannot be held in contempt for violating a

“vague[] [or] ambiguous[]” order. Sebelius, 723 F.3d at 585. Highland

identifies no reason to abandon that rule now. Context and historical

interpretation support the plain meaning as described by Appellants and

offer no support for Highland’s proposed reading which, even if

entertained, arguendo, at best creates only ambiguity. 5




in that case “agreed” “[a]t oral argument” about what the injunction “is
properly read to mean.” Id. at 227.
Highland’s later citation (at 27–28) to the unpublished decision in
American Airlines, Inc. v. Transport Workers Union of America, AFL-
CIO, No. 4:19-cv-0414-A, 2019 WL 3774501 (N.D. Tex. Aug. 12, 2019),
fares no better. The supposedly ambiguous language and standards in
dispute in that case were taken from the Railway Labor Act, which
already governed, and therefore were deemed sufficiently detailed. Id.
at *9. There is no such pre-existing legal context here other than cases
that support Appellants’ interpretation of “commence or pursue.”
5 Other language in the Seery Order makes it questionable whether its

gatekeeping (as opposed to exculpatory) features even apply to claims not
asserting willful misconduct. Appellants’ Br. at 38–39. Contrary to
Highland’s complaints (at 28), attention to the specific language of the
Seery Order matters when the consequence of laxness is contempt. It is
not mere “hair splitting” to note that the Seery Order requires permission
be sought only for claims of “willful misconduct or gross negligence.” Id.
Appellants’ district-court motion only sought to add lesser claims of
breach of fiduciary duty, negligence, and tortious interference, that are
not squarely addressed by the gatekeeping requirements. ROA.2697.

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     Finally, Highland makes the illogical argument (at 31) that

Appellants should have asked the bankruptcy court for clarity about the

Seery Order’s reach. That is wrong for many reasons. For instance, it

overlooks that several Appellants had not yet appeared in the bankruptcy

proceedings when the court issued the Seery Order. And having those

parties file numerous motions for clarification about the scope of all

previous orders upon entering appearances would have been highly

inefficient, and likely sanctionable.

     Furthermore, debates about the desirability of seeking clarity

rather than following the plain meaning of the Order by seeking a ruling

from the district court have no bearing on whether it was contempt not to

request clarity. Appellants raised a challenge to the scope of the Seery

Order at the first reasonable opportunity—when it was applied to them—

and in the court that had the authority to do something about it. There

was no clear basis in the Seery Order prohibiting that mere request, or

the challenge to the scope and application of the Order to potential claims

involving less-than-willful conduct.        Insisting that Appellants play

Mother-May-I even for actions beyond the plain meaning of the Seery

Order’s restrictions is unreasonable, and certainly not grounds for



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finding contempt merely because they could have taken a different path

in the face of any lingering doubt. If there were a need for clarity, the

bankruptcy court could have offered it after the motion was rejected and

before any future conduct it thought should be restricted. But jumping

straight to contempt went far beyond its properly limited power.

III. The Courts Below Erred in Awarding Punitive Sanctions for
     Expenses Not Caused by the Alleged Contempt.

     Even if Appellants’ district-court motion violated the Seery Order,

which it did not, the bankruptcy court erred when it entered a sanctions

award against Appellants. When Highland filed its motion for contempt,

it had not spent a single cent responding to Appellants’ motion for leave.

Highland’s request for an order to show cause does not even allege any

injury from the already terminated alleged contempt, it merely seeks

punishment and deterrence of future conduct, neither of which are

compensatory. Indeed, the only thing that caused Highland to spend any

time or money was its own decision to file and excessively litigate an

improper contempt motion.

     Bankruptcy courts lack the power to impose criminal contempt

sanctions and may only impose civil contempt sanctions under the

limitations discussed in the prior Sections.        Appellants’ Br. at 40


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(discussing cases). To be a “civil” contempt sanction, the award “must be

compensatory rather than punitive in nature ….              A fee award is

[compensatory] if it covers the legal bills that the litigation abuse

occasioned.” Goodyear Tire & Rubber Co. v. Haeger, 137 S. Ct. 1178, 1186

(2017) (emphasis added). Civil contempt sanctions may also be imposed

to coerce a change in ongoing behavior in violation of an order, but

generally must be conditioned on the continuation or cessation of that

behavior and not merely to deter future behavior. See United States v.

Rizzo, 539 F.2d 458, 465 (5th Cir. 1976) (civil contempt is conditional, in

that it may be lifted if the contemnor changes course).           A criminal

contempt sanction, by contrast, is one that seeks to punish behavior

deemed a challenge to the court’s authority or to deter future challenge

to that authority. See Lamar Fin. Corp. v. Adams, 918 F.2d 564, 566 (5th

Cir. 1990) (if the purpose of a sanction is to punish and vindicate the

court’s authority, the order is viewed as criminal). If the purpose of a

sanction is either punishment or deterrence, it is beyond the power of a

bankruptcy court. See 28 U.S.C. § 1334(b); In re Hipp, Inc., 895 F.2d

1503, 1510–11 (5th Cir. 1990).




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     Despite these straightforward limits on the contempt power,

Highland erroneously persists in arguing (at 51) that it “incurred

expenses as a result of Appellants’ contemptuous conduct.” See also id.

at 48 (erroneously insisting that “the monetary award was based solely

on Highland’s cost of enforcing the Orders”). But Highland leaves that

assertion entirely unsupported, failing to cite anything in the record

showing that the motion for leave required it to do anything or that the

Seery Order needed “enforcing” at the time it filed its motion for a show-

cause order.

     In contrast, the record confirms that Appellants’ district-court

motion was filed, not yet served, and denied before Highland ever took

any action. After-the-fact efforts to punish supposedly contemptuous

behavior that had already ceased is not a compensable injury properly

remedied through civil contempt. Rather, it is an improper effort to have

the bankruptcy court exceed its limited authority and punish or deter,

and the costs of such punitive efforts cannot be recategorized as civil

compensation merely because Highland spent excessive money on its

improper efforts.




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     Highland’s reliance (at 51) on this Court’s decision in SkyPort

Global confirms that a sanctions award may be proper when it “restores

the … parties to where they were before they incurred attorneys’ fees in

an attempt to ensure compliance with the injunction.” (quoting SkyPort

Glob., 661 F. App’x 835, 841 (5th Cir. 2016)). But here, the allegedly

contemptuous conduct had concluded before Highland incurred any fees

or suffered any other form of compensable injury.            Thus, returning

Highland to where it was at the start would have been to award Highland

nothing.   Sanctions are compensatory where they stop an ongoing

contempt or compensate for expenditures caused by a past contempt. But

when they are imposed as punishment after the fact, or where the

“expenses” were generated not by the contempt but only by a post hoc

retaliatory motion for contempt, then they are properly categorized as

sanctions for criminal contempt and are beyond the power of an Article I

bankruptcy court.

     Highland thus misses the point when arguing (at 49) that the

“sanction [was] paid to the party aggrieved by the contemnor[.]”

Highland may have been colloquially “aggrieved,” in that it was annoyed

after the fact, but it was not financially aggrieved by Appellants’ conduct.



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Rather, any financial grievance came only from Highland’s decision to

institute proceedings to punish Appellants. Indeed, Highland cannot

possibly be financially “aggrieved” by conduct that never required an

action or a response. See Appellants’ Br. at 33.

     Unsurprisingly, Highland quickly pivots away from discussing

actual causation and argues (at 51) that the sanction award was

nonetheless proper because it was based on billing records. See also id.

at 48 (same). But that is not the question. The propriety of a sanctions

award does not turn on its correlation to billing records where the bills

submitted were not caused by the underlying motion for leave itself, or

any response thereto. Rather, they were caused entirely by improper

efforts to punish the alleged contempt after it had ceased. Unless the

award sought to compel a change in current behavior or compensate

Highland for injuries resulting from past behavior, the award was

punitive and thus improper.     That Appellants have “billing records”

supposedly confirming the cost of their improperly punitive efforts is a

non-sequitur.

     The lack of causation here confirms the punitive nature of the

award in this case. “The complaining party … may recover ‘only the



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portion of his fees that he would not have paid but for’ the misconduct.”

Goodyear Tire, 137 S. Ct. at 1187 (quoting Fox v. Vice, 563 U.S. 826, 836

(2011)).   The allegedly contemptuous act—filing the district-court

motion—had come and gone before Highland even knew about it, and

well before it filed its request for sanctions. Thus, Highland cannot

identify any “fees that [it] would not have paid but for the misconduct.”

     Notably, Highland fails to cite a single instance where a court

imposed sanctions for allegedly contemptuous conduct that had ended

before any contempt proceedings were initiated, and where the allegedly

contemptuous conduct did not require the complaining party to take any

actions. That is unsurprising, as it is unlikely any party has previously

had the gumption to seek a sanction and fees in such a circumstance.

Yet, that is precisely the case here.

     The only “but for” cause of the fees here was the voluntary, and

unnecessary, sanctions motion. And, indeed, those fees were expanded

by the equally pointless discovery into Mr. Dondero’s relationship with

the DAF Appellants. It was the DAF Appellants and their attorneys who

filed the supposedly problematic motion, who took responsibility for that

entirely permissible action, and who could readily bear the consequences



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if their actions were properly found to constitute contempt. Inquiring

into the underlying whys and wherefores of their decision, whether they

sought counsel before filing their motion, or anything else other than the

actual conduct allegedly constituting contempt, was entirely unnecessary

except for Highland’s desire to punish Appellants and Mr. Dondero. The

fees in pursuit of that further irrelevant and improper effort are not the

but-for result of the alleged contempt, even if one mistakenly imagines

that necessary expenses for the motion to show cause might be

compensable in general.

     Moreover, even if some fees were appropriately awarded to

Highland, the bankruptcy court erred in not reducing the total award to

reflect the costs Highland would have otherwise spent responding to a

motion for leave filed first with the bankruptcy court, and then followed

by an appeal of the bankruptcy court’s certain denial of that motion. See

Appellants’ Br. at 45–46. Basic principles of causation require such an

offsetting analysis to reduce any permissible award. Instead, at each

turn, the bankruptcy court multiplied the proceedings and expenses to

punish Appellants.




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     Further indicia of the punitive and deterrent purpose of the

contempt sanctions are found in the bankruptcy court’s prospective

appellate sanction “of $100,000 for each level of rehearing, appeal, or

petition for certiorari that [Appellants] may choose to take with regard to

this Order, to the extent … not successful.” ROA.56 (cleaned up). While

Highland has abandoned any defense of that sanction, the fact that such

an indefensible sanction and restraint on Appellants’ right to petition

was ever imposed demonstrates the punitive and deterrent purposes of

the award in this case.6

     Because the alleged contempt had ended before Highland incurred

any expenses, and because the expenses later incurred were not caused

by the alleged contempt rather than by the intervening and improper




6 There is yet further reason to understand the sanctions in this case as
punitive, including the bankruptcy judge writing a book casting a thinly
veiled Mr. Dondero as a corrupt and potentially pedophilic villain. See
Am. Renewed Mot. to Recuse, In re Highland Capital Mgmt., L.P.,
No. 19-34054-SGJ-11 (Bankr. N.D. Tex. Mar. 3, 2023) (ECF No. 3673)
(motion to recuse discussing book); Mem. Op. & Order, In re Highland
Capital Mgmt., L.P., No. 19-34054-SGJ-11 (Bankr. N.D. Tex. Mar. 6,
2023) (ECF No. 3676) (denial of motion to recuse unbelievably denying
that the character was based on Dondero); see generally Pilar Melendez
& Emily Shugerman, Did Judge Turn a Hedge Funder Into the Villain of
Her Novel?, Daily Beast (May 6, 2023), https://tinyurl.com/bddbzse5
(describing controversy).

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efforts to punish Appellants, the monetary sanctions were not properly

civil in nature, exceeded the bankruptcy court’s power, and should be

reversed.

IV.   The Courts Below Erred in Extending the Barton Doctrine
      Beyond its Reach.

      Finally, the bankruptcy court’s expansion of the Barton Doctrine

finds no support in decisions of this Court or others. Whatever the

propriety of Barton, it does not apply to Seery. It is beyond any plausible

dispute that the actions Seery is accused of undertaking in the proposed

amended complaint occurred in his role as CEO, not as trustee (or even

as an adjunct to a trustee), and Highland has not identified a single case

where Barton was extended to exculpate someone serving as CEO from

liability. Indeed, this Court itself rejected the application to Seery of the

final gatekeeping and exculpation order in this very case, finding that it

was beyond the authority of the bankruptcy court and that any concerns

with excessive litigation should be addressed by other means. See Matter

of Highland Capital, 48 F.4th 419, 437–38 (5th Cir. 2022).7




7 The court declined to reach whether that holding would apply to the

interim order at issue here because such a challenge was collateral to its
consideration of the final order. We address whether the challenge to the

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     Rather, Highland attempts to muddy the waters to make it appear

as though Seery was not, in fact, acting as CEO when he engaged in the

conduct alleged in Appellants’ proposed amended complaint.                  For

example, Highland speaks of Seery (at 36, 37) as a “court-appointed

officer[]” appointed “to oversee and manage the bankruptcy case in lieu

of a chapter 11 trustee[.]” Highland further attempts to obscure Seery’s

role (at 38 n.23) by stating that “the Independent Directors were acting

as a ‘bankruptcy trustee’ and entitled to the protections otherwise

afforded to trustees.” This is incorrect.

     As Appellants demonstrated (at 55–56), Seery was never hired or

appointed to be a trustee, nor was he ever appointed by a receiver or

trustee. Rather, Seery served as the CEO of a private company after the

board of directors appointed him, in their “business judgment.”

ROA.11722–23. In this capacity, Seery had many responsibilities that

would never fall to a trustee (e.g., hiring and firing employees, purchasing

or disposing of property, etc.).    Appellants’ Br. at 56.       And he was

permitted to do so before obtaining court approval.




Seery Order as applied in this case is properly raised or improperly
collateral infra at 26.

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     Highland never addresses these responsibilities, or the fact that

Seery was appointed CEO in the Board’s “business judgment.” Instead,

Highland persists in blindly pointing (at 37) to the bankruptcy-court’s

appointment of Seery as the end of the inquiry. As this Court itself found,

Matter of Highland Capital, 48 F.4th at 437–38, that does not convert a

CEO appointed by a board of directors for business reasons into a trustee

protected by Barton. And that is further clear from the actions about

which Appellants complained—Seery’s breach of fiduciary duties when

bringing property under Highland’s control. That is not the action of a

trustee or, as the bankruptcy court suggested, someone who is “rather

obvious[ly]” acting as a trustee. 8 ROA.42. That the bankruptcy court

later blessed Seery’s approval as CEO does not convert him into a trustee

or otherwise blanket his conduct with immunity when acting as CEO.

     Highland incorrectly claims that this Court’s recent decision

regarding the final bankruptcy confirmation order in Matter of Highland

Capital, has already rejected the arguments Appellants make here. Not


8 Highland continues to argue (at 36) that Barton’s application is
necessary here to ensure that a bankruptcy court can “maintain[] a panel
of trustees without the threat of baseless litigation.” Highland does not
address the fact that this precise argument has already been rejected.
See Appellants’ Br. at 56–57.

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so. This Court found that Seery acting in his capacity as CEO was not

subject to the exculpation benefits enjoyed by a trustee or quasi-trustee.

This Court otherwise merely confirmed that Barton has been applied to

actions “against the trustee or other bankruptcy-court-appointed officer,

for acts done in the actor’s official capacity.” 48 F.4th at 439. This court

did not view that as extending to Seery in his capacity as CEO.9

     Equally unavailing is Highland’s attempt (at 32–35) to duck these

issues on procedural grounds.      Put simply, this is not an improper

collateral attack on the Seery Order where review was available

previously. Rather, Appellants raised their challenges to the Seery Order

and the questionable extension of Barton at the outset in its district-court

motion, and they have been renewing the same argument ever since.

Continuing to challenge the bankruptcy court’s overbroad interpretation

of the Seery Order is wholly distinct from mounting a collateral attack on

the Seery Order after the contempt proceedings have been underway for



9  Notably, Highland has never challenged the permissibility of
Appellants’ initial district-court complaint against Highland. If that
complaint against the debtor is permissible, it is illogical that Appellants
could not also name the corporate officer involved in the challenged
actions. Extending Barton to preclude such an obvious amendment to a
complaint would raise further questions about the propriety of Barton.

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an extended period. See Appellants’ Br. at 34–36, 48–50. Highland does

not address this key distinction between an improper collateral attack

and a renewed challenge that has been raised since the outset.

     Instead, Highland focuses its efforts on the notion that still earlier

review was available. For instance, Highland suggests (at 31–32, 35)

that Appellants should have sought an advisory opinion in the middle of

the bankruptcy proceedings about the scope of the Seery Order, despite

its not being applied at the time. Highland offers no support for this

suggestion that a party is obligated to slow down proceedings to seek

advisory opinions about every possible application of an order. Rather,

that is why as-applied challenges are favored. See Sabri v. United States,

541 U.S. 600, 608 (2004) (“facial challenges are best when infrequent”).

     Highland further suggests (at 35) that Appellants should have

appealed the Seery Order when it was entered. Of course, that would

have required Appellants (including attorney Appellants) to have been

aware of the Order when it was entered (which they were not), and it

would have encountered similar obstacles, requiring Appellants to appeal

an order based on hypothetical applications. And Highland’s suggestion

that Appellants should have challenged the Seery Order when Highland



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indicated it would seek sanctions is misguided because that is exactly

what Appellants did—they raised this precise issue in their district-court

motion. ROA.2693–97.

     Highland appears to overlook the substance of Appellants’ motion,

accusing them of only challenging the scope of the Seery Order “after

being charged with its violation.” Highland Br. at 35 (excessive

emphasis in original). That is simply false. Appellants raised these (and

other) issues in their district-court motion for leave, which was the first

opportunity for Appellants to do so with concrete facts and applications.

Highland’s argument thus eats its own tail by effectively claiming that

the very motion questioning and challenging the application and

legitimate scope of the Seery Order is itself a contumacious violation of

that Order and the Order therefore cannot be challenged in the ensuing

contempt proceedings. The only choices remaining are thus frivolous and

unripe facial challenges seeking advisory opinions on every conceivable

application of a broad order or a Catch-22 wherein an as-applied

challenge constitutes contempt that cannot be defended by a challenge to

the order supposedly violated.




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     Further undermining Highland’s argument is the fact that the

Seery Order was not final when Appellants filed their district-court

motion. By focusing on the subsequent finality of the gatekeeping orders

once the final order in the bankruptcy case was entered, Highland (at 34)

ignores the proper timeframe of the Order’s status when Appellants first

made their motion in the district court. The bankruptcy court at that

time had expressly retained jurisdiction over that Order. ROA.1172.

Although Highland broadly claims (at 34) that this Court’s “prior rulings”

confirm that retaining jurisdiction does not preclude finality, Highland

never identifies what “rulings” it is thinking of.         Rather, Highland

misplaces criticism of Appellants’ reliance on Ruiz v. United States, 243

F.3d 941 (5th Cir. 2001).     Despite factual differences, the principle

underlying Ruiz is equally applicable here—an injunction is not final

“[a]s long as the court retains the power to terminate or modify

prospective injunctive relief[.]” Id. at 948. By retaining jurisdiction over

the Seery Order, the bankruptcy court had the “power to terminate or

modify” it.   In fact, that is precisely what could have occurred if

Appellants had sought clarification as Highland suggests they should

have done, or if the district court had remanded the motion for leave to



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the bankruptcy court with instructions or limits regarding the Order, as

Appellants proposed in their motion as one means of proceeding.

      Ultimately, it remains true that the bankruptcy court retained

jurisdiction over the Seery Order, it was not final when Appellants filed

their district-court motion, and Appellants raised their arguments about

the Seery Order in that motion. By continuing to renew those same

arguments as a defense of that self-same motion, Appellants are not

engaging in an improper collateral attack. They are challenging an order

that has improperly been applied to them.

                              CONCLUSION

      It borders on absurd to conclude that it is contempt to candidly

acknowledge a gatekeeping and exculpation order, to question before the

district court its application and validity as to a proposed course of action,

and to refrain from taking the restricted action of commencing a claim

but instead seek relief from the order and permission to proceed. Rather

than contempt, that is a direct and appropriate challenge to an

overreaching order by an Article I judge, done in complete candor and

with careful attention not to violate the order being challenged.

Accordingly, the decision below should be reversed.



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May 12, 2023                               Respectfully submitted,

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                       CERTIFICATE OF SERVICE

     Pursuant to Fed. R. App. P. 25(d) and 5th Cir. R. 25.2.5, I hereby

certify that on May 12, 2023, I electronically filed the foregoing brief with

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Circuit by using the CM/ECF system, which will accomplish service on

counsel for all parties through the Court’s electronic filing system.

                                   /s/ Erik S. Jaffe
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Dated: May 12, 2023




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